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                                                                         Juror # _____


  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------X

  UNITED STATES OF AMERICA

                 - against -                              21 CR 371 (S-1) (BMC)

  THOMAS JOSEPH BARRACK and
  MATTHEW GRIMES,

                                Defendants.

  ----------------------------------------------------X

  THE HONORABLE BRIAN M. COGAN
  UNITED STATES DISTRICT JUDGE
  EASTERN DISTRICT OF NEW YORK
  225 CADMAN PLAZA EAST
  BROOKLYN, NEW YORK


       THIS PAGE IS THE QUESTIONNAIRE COVER SHEET.
     PLEASE TAKE OFF THIS PAGE AND TAKE IT WITH YOU.

  After submitting this form, please CALL the below telephone number on
  ______ __, 2022, after __:__ p.m. Upon calling, you will receive instructions
  about the date on which you are to report back to court. It is extremely
  important that you know the juror number written on the top of this form
  when you make your call. Thank you.

  Phone number: 1-800-522-5100

  Date to Call: _________ __, 2022

  Time to Call: After __:__ p.m.
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                                                                                     Juror # _____

                                    JUROR QUESTIONNAIRE

     THE ANSWERS TO THE QUESTIONS ON THIS PAGE WILL BE DISCLOSED
    ONLY TO THE APPROPRIATE PERSONNEL AS DIRECTED BY THE PRESIDING
                                JUDGE


  Please print the following information:

  Name: _______________________________________________________________________

  Home Address: ________________________________________________________________

                   _______________________________________________________________

  Home Phone: _________________________________________________________________

  Cellular Phone: ________________________________________________________________

  Job Title & Department: ________________________________________________________

  Business Address: _____________________________________________________________

                       _____________________________________________________________

  Business Phone (Including Extensions): ____________________________________________

  I hereby declare, under penalty of perjury, that the foregoing information, and all of the answers
  in this questionnaire, are true, correct, and complete to the best of my knowledge.


  Date: ________________
                                                                            SIGNATURE




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                                                                                        Juror # _____

          United States v. Thomas Joseph Barrack, et al., No. 21 CR 371 (S-1) (BMC)

                   JUROR QUESTIONNAIRE TO THE PROSPECTIVE JUROR

          Welcome to the courthouse and thank you for participating in jury service. This
  questionnaire is an important part of the jury selection process. You are sworn to give complete
  and truthful answers – under penalty of perjury – to the questions which follow. The Court directs
  that you shall not discuss this questionnaire or your answers with friends, family, co-workers, court
  personnel or anyone else. It is important that the answers you provide are yours and yours alone.
  Although some of the questions may appear to be of a personal nature, please understand that these
  questions will help the parties and the Court select a fair and impartial jury. Part of the selection
  process depends on your ability and promise to follow the law as it is explained by the Court.
  Thus, some of the questions include descriptions of legal principles and ask whether you can
  conscientiously follow them. Citizens in our community hold a wide variety of different views
  and have had different life experiences that inform their feelings and views on different topics. We
  are genuinely interested in learning your views and feelings on a variety of issues and questions.
  There are no right or wrong answers to these questions. All the information you provide will be
  kept confidential and only viewed by the Judge, the Court Clerk’s Office and members of the
  prosecution and defense teams.

         From this point forward, the Court further directs you not to read or listen to any
  news about this case including all media sources such as TV, radio, newspaper, on-line sites,
  blogs, social media, Google searches, etc. You are not to discuss this case with anyone,
  including your family. You are directed not to research this case or the people involved–
  including any of the facts presented in this questionnaire, any prior court proceedings, the
  defendant, the lawyers or the judge through any resource, including the Internet, media
  publications or any other source of information.

         In filling out this questionnaire, please:
                Write in dark ink and as legibly as possible.
                Write your juror number on the top of each page.
                Take your time and answer each question fully.
                Do not write on the back of any page.
                If you need extra space, continue at the end of the questionnaire. Include the
                 question number you are answering.
                Do not leave any question unanswered. If there is a question you are unable to
                 answer or do not know the answer, write “DK.” If the question is not applicable to
                 you, write “N/A.”
          Jury service is one of the most important duties a citizen can be called upon to perform.
  Thank you for fulfilling your civic duty by responding completely and honestly during jury
  selection. The integrity of the process depends on your truthfulness. Your participation and
  cooperation in this process is appreciated.

                         Hon. Brian M. Cogan, United States District Court Judge



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                                                                                     Juror # _____

                          United States v. Thomas Joseph Barrack, et al.
                                   No. 21 CR 371 (S-1) (BMC)

                                          CASE SUMMARY

                  The defendants Thomas Joseph Barrack and Matthew Grimes are charged with
  acting as agents of a foreign government, specifically the United Arab Emirates, without prior
  notification to the Attorney General, in violation of Title 18, United States Code, Sections 951(a)
  and 2, as well as with conspiracy to act as unregistered agents of a foreign government, specifically
  the United Arab Emirates, in violation of Title 18, United States Code, Section 371. Mr. Barrack
  is also charged with obstruction of justice, in violation of Title 18, United States Code, Sections
  1512(c)(2) and 2, and with making materially false statements, in violation of Title 18, United
  States Code, Section 1001(a)(2). These are only allegations. Mr. Barrack and Mr. Grimes have
  denied the charges and have pleaded not guilty. The United States must prove each charge against
  Mr. Barrack and Mr. Grimes beyond a reasonable doubt. Mr. Barrack and Mr. Grimes are
  presumed innocent of all charges.

                 This information is just a summary of the charges to give you some background on
  the case. The Court will instruct the jury as to the elements of the crimes charged and the
  applicable law during trial.




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                                                                                    Juror # _____

                               BACKGROUND QUESTIONS

  1.    Name: _________________________________________________________________

  2.    Age:     ___________

  3.    Sex:     ___________________________

  4.    What is your current relationship status (check all that apply)?

         Married ______ years             Divorced
         Separated                        Widowed
         Single, never married            Single, living with another person as a couple
         Other: ___________________________

  5.    Place of Birth: ___________________________________________________________

  6.    Where were you raised?
        ________________________________________________________________________

  7.    Where were your parents born and raised?

        Father                                        Mother

        Born ______________________                   Born ______________________

        Raised ______________________                 Raised ______________________

  8.    Are you a citizen of the United States?  Yes           No

  9.    Are you a citizen of any other country?  Yes           No

        If yes, please list:
        ________________________________________________________________________

  10.   Do you have any difficulty reading, understanding, or speaking English?

                        Yes       No

        If yes, please explain: ______________________________________________________

        ________________________________________________________________________

  11.   Do you read, write or understand Arabic?  Yes  No

        If yes, would you have any difficulty relying solely on a translator’s translation of
        Arabic?  Yes  No


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                                                                                Juror # _____

  12.   Do you have any condition or issue that would affect your ability to serve as a juror,
        including difficulty hearing, seeing, reading, or concentrating?

                        Yes           No

        If yes, please describe:
        ________________________________________________________________________

        ________________________________________________________________________

        ________________________________________________________________________

        If you feel that you could serve with accommodations, please indicate those
        accommodations:
        ________________________________________________________________________

        ________________________________________________________________________

        ________________________________________________________________________

  13.   Where do you live?

         Brooklyn  Queens            Staten Island         Nassau          Suffolk

        City/Town                                     Neighborhood (if any)

  14.   How long have you lived at your current residence? ____________________________

  15.   Do you own or rent your home? ____________________________________________

  16.   Who lives in your home with you (please be specific as to each person)?

        ________________________________________________________________________

  17.   What other neighborhoods or states have you lived in over the past 10 years?
        [Please do not list any specific addresses.]
        ________________________________________________________________________

        ________________________________________________________________________

        ________________________________________________________________________




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                                                                            Juror # _____

  18.   Have you ever lived in another country?        Yes  No

        Country                        Dates of residence                 Reason

        _______________                ___________________                __________________

        _______________                ___________________                __________________

        _______________                ___________________                __________________


  19.   Have you ever traveled outside of the United States?      Yes       No

        If yes, please describe where and approximately when:

        ________________________________________________________________________

        ________________________________________________________________________

        ________________________________________________________________________

        ________________________________________________________________________

  20.   If you have children, please state:

        Sex        Age        Education Level          Occupation         Place of Residence

        ________________________________________________________________________

        ________________________________________________________________________

        ________________________________________________________________________

        ________________________________________________________________________


  21.   What is the highest level of education you completed? ___________________________

  22.   If you attended college or graduate school, what did you study?

        ________________________________________________________________________

  23.   Do you hold any professional licenses? If so, please list:

        ________________________________________________________________________




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                                                                                Juror # _____

  24.   Have you, a family member or anyone close to you ever had, applied for, or planned to
        seek any education, training, employment or volunteer experience in the following areas
        (please check all that apply):

            Corrections/Jails/Prisons                     ❏ Myself           ❏ Family/Friend
            Courts/Probation/Parole                       ❏ Myself           ❏ Family/Friend
            Criminal Justice/Criminology                  ❏ Myself           ❏ Family/Friend
            International Relations/Foreign Service       ❏ Myself           ❏ Family/Friend
            Forensic Science/Crime Scene Investigation ❏ Myself              ❏ Family/Friend
            Human Behavior/Psychology/Sociology           ❏ Myself           ❏ Family/Friend
            Islamic Studies/Law                           ❏ Myself           ❏ Family/Friend
            Journalism/Media/Communications               ❏ Myself           ❏ Family/Friend
            Law/Legal Field                               ❏ Myself           ❏ Family/Friend
            Law Enforcement (local, state, federal)       ❏ Myself           ❏ Family/Friend
            Marketing/Persuasion/Advertising              ❏ Myself           ❏ Family/Friend
            Middle Eastern Studies/History                ❏ Myself           ❏ Family/Friend
            Security/Intelligence                         ❏ Myself           ❏ Family/Friend
            Lobbying/Politics                             ❏ Myself           ❏ Family/Friend

        If yes to any of above, please state the nature of the education, training, work or volunteer
        experience, location, dates of participation/employment, name of organization and, if other
        than yourself, please state the person(s) relationship to you:
        ________________________________________________________________________

        ________________________________________________________________________

        ________________________________________________________________________

        ________________________________________________________________________

        ________________________________________________________________________

        If a relative or close friend has been or is employed by a law enforcement agency, have
        you discussed his or her work? If so, in what level of detail? (For example, “discussed
        generally,” or “discussed his work frequently.”)

        ________________________________________________________________________

        ________________________________________________________________________

        ________________________________________________________________________



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                                                                               Juror # _____


  25.   Have you or any immediate family member ever participated in any group that lobbies or
        takes public positions on social, political, or legal issues?

                        Yes             No

        If yes, please offer a general description of the group and its work without naming the
        group.

        ________________________________________________________________________

        ________________________________________________________________________

        Would that experience prevent you from evaluating the evidence in this case in a fair and
        impartial manner?

                        Yes             No

        If yes, please explain:

        ________________________________________________________________________

        ________________________________________________________________________

        _______________________________________________________________________

  26.   What is your current job status? (Please check all that apply)

         Employed full-time                           Self-employed

         Employed part-time                           Unemployed/laid off

         Have more than one job                       Disabled/unable to work

         Stay at home parent                          Volunteer with charitable organization

         Retired                 For how long? _________________________________________

         Student                  Full-time    Part-time   Area of Study: _________________

  27.   If you are currently a student, what is your area of study? _________________________




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                                                                                 Juror # _____

   28.   Occupation Information
         (If you are currently not employed, please describe your most recent employment)

         (a)    What is your occupation (or what was it, if not currently employed)?

                __________________________________________________________________

         (b)    How long have (did) you work at your present job? ________________________

         (c)    Please describe the nature of your job: __________________________________

         (d)    Do, or did, you supervise other people? If so, how many? ___________________

   29.   If you are retired or unemployed, how long have you been retired or unemployed?

         ________________________________________________________________________

   30.   What other types of jobs have you held throughout your life?
         ________________________________________________________________________

         ________________________________________________________________________

   31.   Does anyone else in your household work outside the home? If yes, please provide the
         nature of the relationship (for example, spouse or child) and the type of work he or she
         does. If the individual is retired or not employed, please indicate and describe the type of
         work he or she did during his or her last period of employment. (Please do not name
         any employer)

         ________________________________________________________________________

         ________________________________________________________________________

   32.   What are/were your parents’ occupations? If retired or deceased, what did they do?

         Mother: ________________________ Father: ________________________

   33.   Have you or an immediate family member ever served in the military (including the
         reserves, National Guard or ROTC)?

          Yes, myself           Yes, family, please specify: ____________________________
          No




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                                                                                 Juror # _____

         If yes, please indicate the branch of service, highest rank, dates of service, foreign
         stations or tours, type of discharge, duties and any special training or honors received:

         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

   34.   Have you, a family member or anyone close to you ever been employed, volunteered or
         had any other affiliation with any aspect of criminal prosecutions or criminal defense
         work or applied or planned to apply to do so?

            ❏ Yes, Criminal Prosecution        ❏ Yes, Criminal Defense            ❏ No
         If yes, please indicate the person’s relationship to you, area of law, type of work/
         experience, dates, and location.
         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

   35.   Do you have any opinions about prosecutors or criminal defense attorneys that would
         impact your ability to fairly and impartially evaluate the evidence in this case?

                         Yes            No

         If yes, please explain.
         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________




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                                                                                Juror # _____

   36.   Have you ever been a juror?  Yes               No

         (a)    If yes, please complete the chart below:


           Year of    State or      Grand Jury or      Criminal    Was there a verdict? (Yes or No)
           Service    Federal       Trial Jury         or Civil    Do not reveal the nature of the verdict.




         (b) What was the general nature of the case (for example, robbery, murder, contract,
             negligence, medical malpractice, etc.)?

                __________________________________________________________________

         (c) Have you ever served as a jury foreperson?            Yes          No

         (d) Is there anything about your prior jury service that would affect your ability to be a
             fair and impartial juror in this case, would make you not want to serve again, or affect
             your opinion about the jury system?

                         Yes              No

                If yes, please explain:

                __________________________________________________________________

                __________________________________________________________________

                __________________________________________________________________




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                                                                               Juror # _____

                                 EXPERIENCES AND BELIEFS

   37.   Do you have any opinions or beliefs concerning the criminal justice system that would
         affect your ability to be a fair and impartial juror?

                         Yes           No

         If yes, please explain.
         ________________________________________________________________________

         ________________________________________________________________________

   38.   Do you have any opinions or beliefs concerning law enforcement in general – including,
         the Federal Bureau of Investigation or the Department of Justice – that would affect your
         ability to evaluate the evidence in this case fairly and impartially?

                         Yes           No

         If yes, please explain.
         ________________________________________________________________________

         ________________________________________________________________________

   39.   Have you, or has a family member or close friend, ever been a witness to or the victim of
         a crime?

                         Yes (self)  Yes (friends/family)           No

         If yes, without listing any names, please explain who was involved, when and where it
         occurred, what happened, the outcome, and whether anyone was arrested or convicted.

         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________




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                                                                                 Juror # _____

         (a)    Do you feel that law enforcement personnel responded appropriately?

                         Yes           No

         If no, please explain.

         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

         (b)    Would that experience affect your ability to be fair and impartial in this case?

                         Yes           No

         If yes, please explain.

         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

   40.   Have you, a family member or close friend ever been stopped, questioned, investigated,
         arrested, prosecuted, or convicted of a crime, other than a traffic ticket, by any law
         enforcement officer or agency?

                         Yes (self)  Yes (friends/family)            No

         If yes, please describe the circumstances surrounding the investigation, accusation, any
         arrest/charges, the result of any prosecution and your relationship to the person(s)
         involved.

         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________




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                                                                                 Juror # _____

         Do you believe that the persons involved (or yourself, if applicable) were fairly treated in
         connection with such matter?

                         Yes           No

         If no, please explain your relationship to the person(s) involved and why you believe that
         you or the person(s) involved were not treated fairly.
         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

         Did you form any opinions about or attitudes towards the criminal justice system because
         of that experience?

                         Yes           No

         If yes, please explain.
         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

         Is there anything about any such experience that would affect your ability to fairly and
         impartially evaluate the evidence in this case?

                         Yes           No

         If yes, please explain.
         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

   41.   Have you, or any person close to you, ever been involved in a court proceeding, a grand
         jury proceeding, or any other legal proceeding as a plaintiff, defendant, victim or witness
         for any reason?

                         Yes (self)            Yes (family)          Yes (other)           No

         If yes, please explain: ______________________________________________________

         ________________________________________________________________________



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                                                                                   Juror # _____

   42.   Have you or a close friend or family member ever been in prison?

                         Yes (self)  Yes (friends/family)              No

         If yes, please explain the circumstances:
         ________________________________________________________________________

         ________________________________________________________________________

         If yes, would this affect your ability to be fair and impartial in this case?

                         Yes            No

         If yes, please explain:
         ________________________________________________________________________

         ________________________________________________________________________

   43.   What is your primary source of news?

         ________________________________________________________________________

   44.   List with specificity any news sources (particular websites, newspapers, radio or
         television shows, magazines, websites, or web blogs) that you read, watch or listen to:
         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

   45.   How often do you follow the news?

          Every day
          Almost every day
          Several times a week
          Several times a month
          Never

   46.   What are your hobbies and special interests? What do you like to do in your spare time?

         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________




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                                                                                   Juror # _____

   47.    To which organizations do you belong, donate, or otherwise affiliate with?

          ________________________________________________________________________

          ________________________________________________________________________

         Have you held any offices or positions of leadership?                    ❏ Yes          ❏ No
          If yes, please describe:
          ________________________________________________________________________

          ________________________________________________________________________

   48.    What television programs do you enjoy watching?
          ________________________________________________________________________

          ________________________________________________________________________

          ________________________________________________________________________

   49.    What books, if any, have you recently read?

          ________________________________________________________________________

          ________________________________________________________________________

   50.    What magazines, if any, do you regularly read?

          ________________________________________________________________________

          ________________________________________________________________________

   51.    What recent criminal or civil trials, if any, have you followed in the media?
          ________________________________________________________________________

          ________________________________________________________________________

          How, if at all, did your following of those trial(s) influence your opinion of the judicial
          system?

          _______________________________________________________________________

          _______________________________________________________________________




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                                                                                Juror # _____

   52.   You may hear testimony from or about the people and places listed on Attachment A
         during the trial. Please turn to Attachment A at the end of this packet and circle the name
         of any person or place that you know personally or have or have had any personal
         connection with.

         If you have such a connection, please explain.

         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

   53.   Have you, or anyone close to you, ever had any legal action or dispute with the federal
         government, any state or local government, or any of their agencies, officers, agents, or
         employees?

                         Yes           No

         If yes, please describe the circumstances surrounding the dispute and your relationship to
         the person(s) involved. [Please do not list any names.]

         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

   54.   Have you, a family member or close friend ever filed a complaint with the police against
         anyone?
                        Yes         No

         If yes, please describe the circumstances surrounding the complaint
         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

   55.   Would others describe you as open minded and willing to listen to and assess different
         viewpoints?
         _______________________________________________________________________
         _______________________________________________________________________




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                                                                                Juror # _____

   56.   Name the one person (living or dead) who is likely known to all of us who you admire
         over all others.

         _______________________________________________________________________


   57.   Is there anything about the nature of the charges in the indictment that would affect your
         ability to be fair and impartial and follow the Court’s instructions?

                         Yes           No

         If yes, please explain.
         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

   58.   Do you have any views or opinions about, or personal or business experiences with, the
         Middle East, the United Arab Emirates, the Kingdom of Saudi Arabia, the State of
         Qatar, or United States’ foreign policy in the Middle East that would affect your ability
         to serve as a fair and impartial juror in this case?

                         Yes           No

         If yes, please explain.

         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________




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                                                                                Juror # _____

   59.   This criminal trial may involve individuals and events associated with the 2016 U.S.
         Presidential Campaign of Donald J. Trump and the Trump Administration. Do you
         have any strong feelings about the 2016 U.S. Presidential Campaign of Donald J. Trump
         or the Trump Administration that would prevent you from being fair and impartial in a
         case involving individuals associated with those groups?

                         Yes           No

         If yes, please explain.

         _______________________________________________________________________

         _______________________________________________________________________

         _______________________________________________________________________

   60.   This criminal trial may involve individuals and events associated with the Special
         Counsel Office’s investigation conducted by Robert Mueller. Do you have any strong
         feelings about the Special Counsel’s Office or its investigation that would prevent you
         from being fair and impartial in a case involving individuals associated with that entity?

                         Yes           No

         If yes, please explain.

         _______________________________________________________________________

         _______________________________________________________________________

         _______________________________________________________________________

   61.   Do you know of any reason whatsoever why you could not, or should not, serve as a
         juror in this case?

                         Yes           No

         If yes, please explain.

         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________




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                                                                              Juror # _____

                                       LEGAL PRINCIPLES

   62.   The defendants are presumed innocent and cannot be found guilty unless the jury,
         unanimously and based solely on the evidence in this case and the law as the Court
         instructs, decides the government has proven their guilt beyond a reasonable doubt. The
         burden of proving guilt rests entirely with the government. The defendants have no
         burden of proof at all.

         Will you accept and apply this rule of law?

                         Yes           No

         If no, please explain.

         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

   63.   The indictment that was filed against the defendants is the means by which the
         government gives them notice of the charges against them and brings them before the
         court. The indictment is an accusation, and nothing more. The indictment is not
         evidence and the jury must not give it any weight in arriving at its verdict.

         Will you accept and apply this rule of law?

                         Yes           No

         If no, please explain.
         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________




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                                                                                Juror # _____

   64.   Can you accept that the defendants, at this moment, are presumed to be innocent of any
         and all crimes charged in this indictment and that they are presumed to be innocent of
         these charges throughout the course of this trial?

                         Yes           No

         If no, please explain.
         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

   65.   Under the law, the facts are for the jury to determine and the law is for the judge to
         determine. You are required to accept the law as the judge explains it to you, even if you
         do not like the law or disagree with it, and you must determine the facts according to those
         instructions. Will you accept and apply this rule of law?

                         Yes           No

         If no, please explain.

         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

   66.   It is the law that the testimony of a single witness can be sufficient to convict a
         defendant of a charged crime if the jury finds that the testimony of that witness
         established proof beyond a reasonable doubt. Do you have any opinion or belief that
         would prevent you from applying this rule of law?

                         Yes           No

         If yes, please explain.
         _______________________________________________________________________

         _______________________________________________________________________

         _______________________________________________________________________




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                                                                                Juror # _____

   67.   Some of the evidence in this case was obtained through the use of search warrants for
         individuals’ email accounts, online file storage accounts, and other Internet activity.
         This evidence was obtained legally. Do you have any feelings about the use of such
         evidence that would prevent you from being fair and impartial in this case?

                         Yes           No

         If yes, please explain.
         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

   68.   The law does not require that any particular investigative techniques be used by law
         enforcement authorities to uncover or prosecute crime. Do you believe that any
         particular type of evidence, such as forensic evidence or audio or video recordings, are
         required to prove a defendant guilty beyond a reasonable doubt? Would you have any
         difficulty in finding the defendant guilty if the government proved its case beyond a
         reasonable doubt without such evidence?

                         Yes           No

         If yes, please explain.
         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

   69.   Under the law, a defendant need not testify or offer any evidence on his or her behalf. If
         a defendant does neither, the jury is not permitted to consider that fact in any way in
         reaching a decision as to whether a defendant is guilty or not guilty.

         Will you accept and apply this rule of law?

                         Yes           No

         If no, please explain.
         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________




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                                                                                  Juror # _____

   70.   Several witnesses in this case will be law enforcement officers. A law enforcement
         witness’ testimony is not to be given any more or less weight than any other witness’
         testimony simply because that witness is a law enforcement officer.

         Will you accept and apply this rule of law?

                         Yes            No

         If no, please explain.

         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

   71.   At the conclusion of the case the Court will instruct you on the law and explain to you the
         elements of the crimes charged in the indictment. Do you have any personal, religious,
         philosophical, political or other beliefs as to what the law is or should be that would make
         it difficult to follow the instructions of the Court or what would make it difficult for you to
         sit in judgment of another or lead you to render a verdict without regard to the law or the
         evidence?

                         Yes            No

         If yes, please explain.

         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________




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                                                                                 Juror # _____

   72.   The question of possible punishment of the defendants is of no concern to the jury and,
         pursuant to your oath as jurors, you cannot allow any consideration of the punishment that
         may be imposed upon the defendants, if they are convicted, to enter into or influence your
         deliberations in any sense or manner. The duty of imposing sentence rests exclusively upon
         the court. Will you be able to follow this rule without any difficulty?

                         Yes            No

         If no, please explain.

         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

   73.   Under the law, emotions such as sympathy, bias and prejudice must not enter into the
         deliberations of the jurors as to whether the guilt of the defendants have been proven beyond
         a reasonable doubt. Will you be able to follow this rule without any difficulty?

                         Yes            No

         If no, please explain.

         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

         Do you have any bias, sympathy, or prejudice toward either the defendants or the
         government in this case?

          Yes                                                                 No

         If yes, please explain:
         ________________________________________________________________________

         ________________________________________________________________________




                                                  25
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                                                                                  Juror # _____

                           MEDIA AND DISCUSSIONS OF THE CASE

   74.   This case may receive media attention. Will you be able to follow the Court’s instruction
         that you are not to watch television, go on the Internet, including Facebook, Twitter,
         Instagram or blogs, and/or listen to or watch any media coverage regarding this case, that
         you are not to discuss the case with family or friends until the trial and your deliberations
         have concluded, that you are not to discuss the case with fellow jurors until time for
         deliberations, and that the only information you are permitted to consider is that which is
         presented in court?

                         Yes            No

         If no, please explain.
         ________________________________________________________________________

         ________________________________________________________________________

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   75.   Will you be able to follow the Court’s instruction that you are not to conduct your own
         research or investigation concerning any aspect of the case, including anything about the
         defendants, witnesses, attorneys, or the court, by using the Internet or any other research
         medium?

                         Yes            No

         If no, please explain.

         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

   76.   Will you have any difficulty in not discussing the case with anyone, except with your
         fellow jurors in the jury room, after the judge directs you to begin your deliberations?

                         Yes            No

         If yes, please explain.

         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________



                                                   26
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                                                                                Juror # _____

   77.   If you were selected to serve on this jury, would you consider and respect the view of
         other jurors even if their views differed from yours, in accordance with the Court’s
         instructions?

                         Yes           No

         If no, please explain:
         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

   78.   Have you, at any time, read, seen, heard, discussed, written or communicated anything
         about this case, or anyone connected to the case, in the newspapers, on television,
         through the internet, on social media, while listening to the radio, talking with other
         people or through any other source?

                         Yes           No

         Please describe in detail what you have read, seen, heard, or discussed about this case and
         the defendant, or anything else connected to the case including the source of information:

         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________

         If yes, would the information you read, saw, or heard affect your ability to serve as an
         impartial juror in this case?

                         Yes           No

         If yes, please explain:
         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________




                                                  27
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                                                                                   Juror # _____

                             SCHEDULING AND HARDSHIP INFORMATION
            Jury selection will begin on September 19, 2022. The Court and the parties estimate that
   after a jury is selected, this case will last no longer than five weeks, with the Court sitting Monday
   through Thursday. The trial day will be from 9:00 a.m. to 5:00 p.m.

          Jury service is one of the highest duties and privileges of a citizen of the United States.
   Mere inconvenience or the usual financial hardships of jury service will not be sufficient to excuse
   a prospective juror.

   Please complete the following:

   80.    Do you have a serious hardship that you believe requires the Court to excuse you from jury
          service?

                           Yes             No

          If yes, please explain briefly the nature of the hardship:

          ________________________________________________________________________

          ________________________________________________________________________

          ________________________________________________________________________

   81.    What arrangements, if any, can you make to alleviate your hardship?

          ________________________________________________________________________

   82.    Will you be paid your salary while you serve jury duty?

                   Yes              No           Not sure

   83.    Do you have any personal, family, or professional obligations that you feel would
          seriously interfere with your ability to focus and concentrate as a juror in this case?

                           Yes             No

          If yes, please explain:

          ________________________________________________________________________

          ________________________________________________________________________

          ________________________________________________________________________




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                                                                                Juror # _____

   84.   Are you taking any medication that could affect your ability to serve as a juror?

                         Yes           No

         If yes, please explain:

         ________________________________________________________________________

         ________________________________________________________________________

         ________________________________________________________________________




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                                                                     Juror # _____

                    Additional Pages to Complete Responses to any Question
          PLEASE NOTE THE NUMBER OF THE QUESTION YOU ARE ANSWERING
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                                                                     Juror # _____

                    Additional Pages to Complete Responses to any Question
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                                                                        Juror # _____

                                    ATTACHMENT A

      A. Defense Table – Thomas Joseph Barrack
            1. Thomas Joseph Barrack
            2. Daniel Petrocelli, Esq.
            3. James Bowman, Esq.
            4. Randall Jackson, Esq.
            5. Michael Schachter, Esq.
            6. Samantha Miller, Esq.
            7. Steven Ballew, Esq.

      B. Defense Table – Matthew Grimes
            1. Matthew Grimes
            2. Abbe Lowell, Esq.
            3. Sofia Arguello, Esq.
            4. Matthew L. Schwartz, Esq.
            5. Andrew Tauber, Esq.
            6. Christopher Man, Esq.
            7. Johanna Rae Hudgens, Esq.

      C. Government Table
           1. Assistant U.S. Attorney Ryan Harris
           2. Assistant U.S. Attorney Samuel Nitze
           3. Assistant U.S. Attorney Hiral Mehta
           4. Assistant U.S. Attorney Craig Heeren
           5. Trial Attorney Matthew McKenzie
           6. FBI Special Agent Anthony Casola

      D. Possible Witnesses and Other Names Referenced at Trial
            1. Abu Dhabi Investment Authority (“ADIA”)
            2. Zainab Ahmad, Esq.
            3. Abdullah Al Ghafli
            4. Khalifa Ali Saeed Husain Al Ghafli
            5. Mohammed Al Ghafli
            6. Rashid Sultan Rashid Al Malik Alshahhi, also known as Rashid al Malik
            7. Khaldoon Al Mubarak
            8. Minister Abdullah bin Zayed Al Nahyan
            9. UAE President Mohamed bin Zayed Al Nahyan
            10. UAE National Security Advisor Tahnoon bin Zayed Al Nahyan
            11. Ali Saeed Al Neyadi
            12. UAE Ambassador Yousef Al Otaiba
            13. Yasir Al Rumayyan
            14. Ali Mohammed Bin Hammad Al Shamsi
            15. Saudi Arabian Crown Prince Mohammed bin Salman Al Saud


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            16. Andriana Albert
            17. FBI Special Agent Jason Alberts
            18. Ahmed Almehairbi
            19. Gregory Andres, Esq.
            20. FBI Special Agent Jacob Balog
            21. Stephen Bannon
            22. Courtney Beach
            23. David Belford
            24. Owen Blicksilver
            25. Erin Burnett
            26. Jonathon Burns, Esq.
            27. FBI Special Agent Richard Busick
            28. Justin Chang
            29. FBI Special Agent Warren Chiu
            30. Former Director of the National Economic Council Gary Cohn
            31. Colony Advisors, LLC
            32. Colony Capital, Inc.
            33. Colony NorthStar, Inc.
            34. Christine Dal Bello
            35. Bruno Daddi
            36. Dr. Christopher Davidson
            37. Thomas Davis
            38. DigitalBridge Group, Inc.
            39. Clare Duan
            40. Peter Eichler
            41. Ted Elkin
            42. Jon Farkas
            43. Jon Finer
            44. Karren Fink
            45. Former National Security Advisor Michael Flynn
            46. Paul Fuhrman
            47. Marc Ganzi
            48. Richard Gates
            49. Ziad Ghandour
            50. FBI Special Agent Walter Giardina
            51. Jessica Gibbs
            52. Rhona Graff
            53. FBI Special Agent Nicholas Grimaldi
            54. Jonathan Grunzweig
            55. Ashley Hall
            56. Donna Hansen
            57. Miles Hansen
            58. Rashid Haptoor
            59. Robby Haugh
            60. Mark Hedstrom


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            61. Howard Heiss, Esq.
            62. Matthew Herrington, Esq.
            63. Michael Higgins
            64. Heather Hunt
            65. Benjamin Jenkins
            66. James Jeong
            67. Dr. Eliot Kalter
            68. Former Chief of Staff John Kelly
            69. William Kelly
            70. Former Secretary of State John Kerry
            71. Jared Kushner
            72. Dee Dee Lancaster
            73. Robert Lowe
            74. Cari Lutkins
            75. DSS Special Agent Matthew Maguire
            76. Paul Manafort
            77. Allison Marckstadt
            78. Isabelle Marsh
            79. Former Secretary of Defense James Mattis
            80. Former Deputy National Security Advisory K.T. McFarland
            81. Former National Security Advisor H.R. McMaster
            82. FBI Special Agent Tracee Mergen
            83. Sean Misko
            84. Former Secretary of State Steven Mnuchin
            85. David Monahan
            86. Mubadala Investment Company
            87. George Nader
            88. Whitney Nicholas
            89. Alex Own
            90. David Palame
            91. Heidi Parsons.
            92. Former Secretary of State Michael Pompeo
            93. Bernard Pean
            94. Walid Phares
            95. Keith Phillips
            96. Ramsey Ratcliffe
            97. John Luke Reynolds
            98. Daniel Rivetti
            99. Charles Rose
            100.       Former Secretary of Commerce Wilbur Ross
            101.       Stephanie Ruhle
            102.       Erik Schatzker
            103.       Avery Schwartz
            104.       FBI Special Agent Elizabeth Sidaros
            105.       CBP Officer Egbert Simon


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            106.      FBI Forensic Accountant Grant Smith
            107.      Rocio Soler
            108.      Former U.S. Congressman Stephen Stockman
            109.      Sylvio Tabet
            110.      Former Secretary of State Rex Tillerson
            111.      Tobar Properties
            112.      Former President Donald J. Trump
            113.      Shawn Tully
            114.      Madeleine Westerhout
            115.      UAE Supreme Council for National Security

      E. Possible Locations Referenced at Trial
            1. Abu Dhabi, United Arab Emirates
            2. Al Bateen Executive Airport, Abu Dhabi, United Arab Emirates
            3. 10580 Wilshire Boulevard, Los Angeles, California
            4. Van Nuys Airport, Los Angeles, California
            5. 1525 San Vicente Boulevard, Santa Monica, California
            6. 1301 Constitution Avenue NW, Washington, District of Columbia
            7. Kailua, Hawaii
            8. Tangier Ibn Battouta Airport, Tangier, Morocco
            9. Grand Hotel Villa de France, Tangier, Morocco
            10. Tangier, Morocco
            11. Teterboro Airport, Teterboro, New Jersey
            12. 98 Meadowlark Lane, Bridgehampton, New York
            13. 37 Ocean Avenue, East Hampton, New York
            14. Francis S. Gabreski Airport, Westhampton Beach, New York
            15. Dammam, Saudi Arabia
            16. Riyadh, Saudi Arabia




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